Case 1:04-cr-10063-.]DT Document 37 Filed 06/08/05 Page 1 of 2 Page|D 39

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IN THE UNITE,D STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE x */\ \ 0
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UNITED STATES OF AMERJCA, » /» 151 50
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vs. Case No. l:O4cr10063-l
DERRICK PUGH
Defendant.

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond. lt now appears

that the defendant has complied with the requirements of said bond and orders of this Court.

]T IS THEREFORE ORDERED that the ( $10,000/10%= $lOO0.00)appearance bond (receipt 127569 for
this defendant be cancelled and discharged, and the Clerk is directed to issue a check on the Registry in the sum of
$1000.00, payable to: Gregory Cherry, 415 Graves Rd., Savannah, TN 38372; in full refund of the

cash appearance bond posted herein.

 

 

 

Approved:
ROBERT R. DI TROLIO CLE OF COURT
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BY: 'c%
Deputy Clerk'

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Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case l:04-CR-10063 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listedl

 

 

M. Dianne Smothers

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Honorable J ames Todd
US DISTRICT COURT

